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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     Eastern District of New
     ________________        York of ________
                           District

     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                             Chapter 11
                                                             Chapter 12
                                                          ✔
                                                             Chapter 13                                                Check if this is an
                                                                                                                           amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                       12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                        Tagor
                                        __________________________________________________        __________________________________________________
                                        First name                                                First name
       identification (for example,
       your driver’s license or         Jaffrey
                                        __________________________________________________        __________________________________________________
       passport).                       Middle name                                               Middle name

       Bring your picture               Chowdhuri
                                        __________________________________________________        __________________________________________________
       identification to your meeting   Last name                                                 Last name
       with the trustee.                ___________________________                               ___________________________
                                        Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)




2.    All other names you               Tagor
                                        __________________________________________________        Tagor
                                                                                                  __________________________________________________
      have used in the last 8           First name                                                First name
      years                             J.
                                        __________________________________________________        __________________________________________________
       Include your married or          Middle name                                               Middle name
       maiden names.                    Chowdhuri
                                        __________________________________________________        Choudhuri
                                                                                                  __________________________________________________
                                        Last name                                                 Last name

                                        Tagor
                                        __________________________________________________        Chowdhuri
                                                                                                  __________________________________________________
                                        First name                                                First name

                                        __________________________________________________        Mariam
                                                                                                  __________________________________________________
                                        Middle name                                               Middle name
                                        Chowdhuri
                                        __________________________________________________        Tagor
                                                                                                  __________________________________________________
                                        Last name                                                 Last name




3.    Only the last 4 digits of
      your Social Security              xxx     – xx – ____
                                                         9 ____
                                                             7 ____
                                                                0 ____
                                                                    4                            xxx    – xx – ____ ____ ____ ____
      number or federal                 OR                                                       OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                          9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
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Debtor 1        Tagor    Jaffrey Chowdhuri
                _______________________________________________________                             Case number (if known)_____________________________________
                First Name    Middle Name             Last Name




                                            About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                           I have not used any business names or EINs.                 I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in                 BRRIMYN Corp. d/b/a/
                                            _________________________________________________            _________________________________________________
      the last 8 years                      Business name                                                Business name

      Include trade names and                Glen Oaks Service Labs
                                            _________________________________________________            _________________________________________________
      doing business as names               Business name                                                Business name


                                            ___1___1 – 3   4 ___
                                                       ___ ___ 5 ___
                                                                 5 ___
                                                                     3 ___
                                                                       8 ___
                                                                           6                             ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                            EIN                                                          EIN

                                            ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                            EIN                                                          EIN




5.    Where you live                                                                                     If Debtor 2 lives at a different address:


                                            8749 257th Street
                                            _________________________________________________            _________________________________________________
                                            Number     Street                                            Number     Street


                                            _________________________________________________            _________________________________________________


                                             Floral Park                     NY      11001
                                            _________________________________________________            _________________________________________________
                                            City                            State   ZIP Code             City                            State   ZIP Code

                                            _________________________________________________            _________________________________________________
                                            County                                                       County


                                            If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                            above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                            any notices to you at this mailing address.                  any notices to this mailing address.


                                            _________________________________________________            _________________________________________________
                                            Number     Street                                            Number     Street


                                            _________________________________________________            _________________________________________________
                                            P.O. Box                                                     P.O. Box

                                            _________________________________________________            _________________________________________________
                                            City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                  Check one:                                                   Check one:
      this district to file for             ✔ Over the last 180 days before filing this petition,
      bankruptcy                                                                                         Over the last 180 days before filing this petition,
                                               I have lived in this district longer than in any             I have lived in this district longer than in any
                                               other district.                                              other district.

                                             I have another reason. Explain.                             I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                               ________________________________________                     ________________________________________
                                               ________________________________________                     ________________________________________
                                               ________________________________________                     ________________________________________
                                               ________________________________________                     ________________________________________



     Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1        Tagor    Jaffrey Chowdhuri
                _______________________________________________________                             Case number (if known)_____________________________________
                First Name    Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                             Chapter 7
                                             Chapter 11
                                             Chapter 12
                                            
                                            ✔ Chapter 13


8.    How you will pay the fee              
                                            ✔ I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                    
                                            ✔ No
      bankruptcy within the
      last 8 years?                          Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                   MM / DD / YYYY

                                                      District __________________________ When     _______________ Case number ___________________________
                                                                                                   MM / DD / YYYY

                                                      District __________________________ When     _______________ Case number ___________________________
                                                                                                   MM / DD / YYYY



10.   Are any bankruptcy                    
                                            ✔ No
      cases pending or being
      filed by a spouse who is               Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                       District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                        MM / DD / YYYY
      partner, or by an
      affiliate?
                                                      Debtor _________________________________________________ Relationship to you      _____________________

                                                      District __________________________ When     _______________ Case number, if known____________________
                                                                                                   MM / DD / YYYY



11.   Do you rent your                      ✔ No.
                                                     Go to line 12.
      residence?                             Yes.    Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                          part of this bankruptcy petition.




     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1         Tagor Jaffrey Chowdhuri
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                  No. Go to Part 4.
      of any full- or part-time
      business?                                 
                                                ✔ Yes. Name and location of business
      A sole proprietorship is a                          Glen Oaks Service Labs
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or
                                                         8749 257th Street
                                                         _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it                        Floral Park                                             NY           11001
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         ✔
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?                                   ✔ No.
                                                        I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                     No
                                                ✔
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1         Tagor Jaffrey
                First Name
                                   Chowdhuri
                _______________________________________________________
                         Middle Name     Last Name
                                                                                                     Case number (if known)_____________________________________




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                        About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit             You must check one:                                                You must check one:
      counseling.
                                        
                                        ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                           counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you            filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit      certificate of completion.                                         certificate of completion.
      counseling before you file for
                                           Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                           plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                         I received a briefing from an approved credit                     I received a briefing from an approved credit
                                           counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                    filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                           certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                           Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                           you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                           plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities    I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                               services from an approved agency, but was                          services from an approved agency, but was
                                           unable to obtain those services during the 7                       unable to obtain those services during the 7
                                           days after I made my request, and exigent                          days after I made my request, and exigent
                                           circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                           of the requirement.                                                of the requirement.
                                           To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                           requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                           what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                           you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                           bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                           required you to file this case.                                    required you to file this case.
                                           Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                           dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                           If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                           still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                           You must file a certificate from the approved                      You must file a certificate from the approved
                                           agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                           developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                           may be dismissed.                                                  may be dismissed.
                                           Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                           days.                                                              days.

                                         I am not required to receive a briefing about                     I am not required to receive a briefing about
                                           credit counseling because of:                                      credit counseling because of:

                                            Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                              deficiency that makes me                                           deficiency that makes me
                                                              incapable of realizing or making                                   incapable of realizing or making
                                                              rational decisions about finances.                                 rational decisions about finances.
                                            Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                              to be unable to participate in a                                   to be unable to participate in a
                                                              briefing in person, by phone, or                                   briefing in person, by phone, or
                                                              through the internet, even after I                                 through the internet, even after I
                                                              reasonably tried to do so.                                         reasonably tried to do so.
                                            Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                              duty in a military combat zone.                                    duty in a military combat zone.
                                           If you believe you are not required to receive a                   If you believe you are not required to receive a
                                           briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                           motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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Debtor 1        Tagor Jaffrey Chowdhuri
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                ✔   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                           
                                           ✔ No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                     No
      administrative expenses
      are paid that funds will be                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           ✔ 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                           
                                           ✔ $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                           
                                           ✔ $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                            /Tagor Jaffrey Chowdhuri
                                              ______________________________________________               _____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          04/04/2018
                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


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Debtor 1     Tagor Jaffrey Chowdhuri
             _______________________________________________________                                Case number (if known)_____________________________________
             First Name    Middle Name             Last Name




                                         I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are            to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                       available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                         the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented               knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                         _________________________________
                                          \s Peter A. JosephPJ9723                                           Date           _________________
                                                                                                                            04/04/2018
                                            Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                            Peter A. Joseph
                                            _________________________________________________________________________________________________
                                            Printed name

                                            Law Offices of Peter A. Joseph
                                            _________________________________________________________________________________________________
                                            Firm name

                                            177 Waverly Place
                                            _________________________________________________________________________________________________
                                            Number Street

                                            Suite 5F
                                            _________________________________________________________________________________________________

                                            New York
                                            ______________________________________________________ NY
                                                                                                   ____________ 10014
                                                                                                                ______________________________
                                            City                                                   State        ZIP Code




                                                          (646) 337-7051
                                            Contact phone _____________________________________             Email address   peter.joseph72@post.harvard,e
                                                                                                                             ______________________________




                                            1260967
                                            ______________________________________________________ NY
                                                                                                   ____________
                                            Bar number                                             State




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Debtor 1      Tagor Jaffrey Chowdhuri
              _______________________________________________________                           Case number (if known)_____________________________________
              First Name   Middle Name            Last Name




For you if you are filing this             The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                      should understand that many people find it extremely difficult to represent
attorney                                   themselves successfully. Because bankruptcy has long-term financial and legal
                                           consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                    To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                    technical, and a mistake or inaction may affect your rights. For example, your case may be
                                           dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                           hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                           firm if your case is selected for audit. If that happens, you could lose your right to file another
                                           case, or you may lose protections, including the benefit of the automatic stay.
                                           You must list all your property and debts in the schedules that you are required to file with the
                                           court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                           in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                           property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                           also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                           case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                           cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                           Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                           If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                           hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                           successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                           Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                           be familiar with any state exemption laws that apply.

                                           Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                           consequences?
                                              No
                                              Yes

                                           Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                           inaccurate or incomplete, you could be fined or imprisoned?
                                              No
                                              Yes

                                           Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                              No
                                              Yes. Name of Person_____________________________________________________________________.
                                                    Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).



                                           By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                           have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                           attorney may cause me to lose my rights or property if I do not properly handle the case.


                                          _______________________________________________             ______________________________
                                             Signature of Debtor 1                                       Signature of Debtor 2

                                           Date               _________________                          Date             _________________
                                                              MM / DD / YYYY                                              MM / DD / YYYY

                                           Contact phone ______________________________________          Contact phone    ________________________________

                                           Cell phone         ______________________________________     Cell phone       ________________________________

                                           Email address ______________________________________          Email address    ________________________________



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